                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                      No. 5:18-CR-00452-FL-2



 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
    v.                                              )                       ORDER
                                                    )
                                                    )
 TATYANA ANATOLYEVNA TEYF,                          )
                                                    )
                   Defendant.                       )


         This matter is before the court on defendant’s motion to quash grand jury subpoena dated

February 22, 2019 (DE 167). The subpoena directs defendant to produce

         [a]ny and all records in your possession, custody, or control that are required to be
         maintained pursuant to 31 C.F.R. § 1010.420 (formerly 31 C.F.R. § 103.32) for the
         past 5 years relating to foreign financial bank, securities, or other financial accounts
         in a foreign country for which you had/have a financial interest in, or signature or
         other authority over and are required by law to file a Report of Foreign Bank and
         Financial Account (FBAR). The records required to be maintained pursuant to 31
         C.F.R. § 1010.420 (formerly 31 C.F.R. § 103.32) include records that contain the
         name in which each such account is maintained, the number or other designation of
         such account, the name and address of the foreign bank or other person with whom
         such account is maintained, the type of such account, and the maximum value of each
         such account during the reporting period.

(See Grand Jury Subpoena (DE 167-1) at 4). Defendant claims that the grand jury subpoena violates

her Fifth Amendment constitutional protection against self-incrimination under the act of production

doctrine. The government responds in opposition, arguing that the required records doctrine

overrides defendant’s Fifth Amendment privilege.

         In United States v. Under Seal, the Fourth Circuit expressly considered whether to quash a

grand jury subpoena identical in substance to the one in the instant case, with the parties raising the



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same arguments as here. 737 F.3d 330, 332 (4th Cir. 2013). On de novo review, the Fourth Circuit

concluded the required records doctrine applied, and that defendants’ Fifth Amendment privilege

was inapplicable. Id. at 334-38. The Fourth Circuit’s decision in Under Seal controls the disposition

of defendant’s motion. Accordingly, defendant’s motion to quash grand jury subpoena (DE 167) is

DENIED.

       SO ORDERED, this the 5th day of March, 2019.



                                              _________________________
                                              LOUISE W. FLANAGAN
                                              United States District Judge




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